Case 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 Page 1 of 16




                   EXHIBIT A
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                               INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                7   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 2 ofNYSCEF:
                                                                                 16     03/20/2019




         SUPREME                     COURT                    OF      THE          STATE                    OF       NEW           YORK
         COUNTY                    OF NEW YORK
              ------               ---------------------------------                                                                                       X          INDEX              NO.150333/2018
                                                                                                                                                            :         Date              Purchased
          KAREEM                     ROWE,                                                                                                                  :

                                                                                                                   Plaintiff,                               :         SUPPLEMENTAL                                 SUMMONS
                                                                                                                                                           :
                                                                    -against-                                                                              :          Plaintiff                         designates
                                                                                                                                                           :               New          York           County                  as

                                                                                                                                                           :                      the          County                   of
          THE                CITY          OF            NEW         YORK,                POLICE                    OFFICER                                :                            Occurrence
          SEAN                THORNTON,                             SHIELD               No.                640,           and                             :

          NATIONAL                         RAILROAD                         PASSANGER                              CORPORATION                             :

          d/b/a                 AMTRAK,                                                                                                                    :

                                                                                                                  Defendants,                              :
              ---------------------------------------                                                                                                  X
         To            the         above                 named              Defendants:


                             You       are               hereby               summoned                        to          answer           the             complaint                           in       this             action
         and             to         serve                 a         copy           of           your               answer,                or,              if          the          complaint                           is       not
         served                    with              this             summons,                         to          serve             a    notice                      of       appearance,                              on        the
         Plaintiff's                             attorney                               within                     20         days          after                      the              service                    of          this

         summons,                         exclusive                          of         the          day            of          service                    (or             within               30          days             after
         the            service                     is         complete                    if          this               summons               is         not             personally                          delivered
         to        you             within                     the          State                of          New           York);            and                 in         case          of          your           failure
         to        appear                   or           answer,                   judgment                        will            be     taken                      against                  you           by      default
         for            the          relief                     demanded                        in          the           complaint.




         Dated:                    Bronx,                   New         York
                                   March                 19,          2019




                                                                                                                    THEf'BAGLEY                        fIRM,                   P.C.
                                                                                                                    Attorneys                        for              Plaintiff
                                                                                                                    391            East          149th                                              Suite           205A
                                                                                                                                                                       Street,
                                                                                                                    Bronx,                NY         10455
                                                                                                                     (718)705-7999


         Defendants'                                Addresses:
         The            City              of        New             York
         100            Church                   Street
         New            York,                  NY        10007




                                                                                                                     1 of 2
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                7   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 3 ofNYSCEF:
                                                                                 16     03/20/2019




         Police             Officer              SEAN          THORNTON,       SHIELD    NO.     640
         One        Police             Plaza
         New        York,         NY         10038


         National               Railroad                 Passenger         Corporation         d/b/a   Amtrak
         c/o        Eleanor             D.      Acheson
         Chief          Legal           Officer,                General       Counsel
         &     Corporate              Secretary
         National               Railroad                 Passenger         Corporation
         1     Massachusetts                         Avenue,          NW
         Washington,                    DC       20001


         National               Railroad                 Passenger         Corporation         d/b/a   Amtrak
         400      West          31st                            4th   F1OOr
                                             Street,
         New      York,           New          York        10001




                                                                                2 of 2
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                     INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 4 ofNYSCEF:
                                                                                 16     03/19/2019




          SUPREME               COURT                   OF          THE               STATE              OF          NEW         YORK
          COUNTY            OF NEW YORK
           ---------------------------------------                                                                                                   X      INDEX                 NO.        150333/2018

                                                                                                                                                      :     Date               Purchased
              KAREEM            ROWE,                                                                                                                 :

                                                                                                                 Plaintiff,                           :              AMENDED                  COMPLAINT


                                                              -against-                                                                               :

                                                                                                                                                      :



              THE      CITY           OF          NEW            YORK,                   POLICE                      OFFICER                          :

              SEAN          THORNTON,                         SHIELD                     NO.             640,            and                          :

              NATIONAL                RAILROAD                              PASSENGER                           CORPORATION                           :

              d/b/a          AMTRAK,                                                                                                                  :

                                                                                                                Defendants,                           :
              __________-----------------------------                                                                                                X




                        Plaintiff,                                   by                his                   attorney,                       THE            BAGLEY                           FIRM,              P.C.,



          complaining                             of          the                Defendants,                              respectfully                               shows              to         this         court



          and         alleges                   the            following                             upon              information                        and           belief:


                       FIRST:                          That                  at               all                times                hereinafter                                 mentioned,                        the



          Defendant,                            THE            CITY                    OF           NEW              YORK            (hereinafter,                                referred                     to         as



          "CITY")                was              and               still                    is          a      municipal                     corporation                               organized                   and



          existing                   under                and               by         virtue                   of       the         laws       of         the           State                of      New       York.


                       SECOND:                            That                   at      all             times                 hereinafter                       mentioned                         Defendant,


         NATIONAL                    RAILROAD                         PASSENGER                              CORPORATION                      d/b/a              AMTRAK                  (hereinafter,


          referred                   to           as          "AMTRAK")                             is         and          was        at     all           times                 material                    hereto


          a      corporation                            duly                 organized                           and            existing                  under                and           by      virtue             of


          law         and       was               engaged                         in         owning                   and         operating                      a      line            and           system            of


          railroads                       and           railroad                         properties                             as     a     common                  carrier                  of      goods         and


         passengers                         for           hire                   in         interstate                           commerce                 and           transportation                              in,




                                                                                                                 1 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                        INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 5 ofNYSCEF:
                                                                                 16     03/19/2019




          through                     and           between                 various                    and           several                  states                  of       the             United           States


          and           doing                   business                with              a      principal                        place                 of          business                     in      New      York,


         New            York.


                             THIRD:                             That         at          all            times               hereinafter                               menLioned                          DefendanL



         AMTRAK,                      its           agents,                 servants                        and        employees                             operate,                    maintained                      and


          controlled                              the        Amtrak                    Police                 Department.


                             FOURTH:                        That              at               all              times                    hereinafter                                     mentioned                       the



          Defendant,                               POLICE              OFFICER                        SEAN           THORNTON,                          SHIELD                 NO.              640,        was          and


          is      a          police                  officer,                     employed                      by         the          Defendant                          AMTRAK.


                             FIFTH:                             That         on          and            prior               to         the             26th                         of
                                                                                                                                                                      day                      March,             2016,


         the            aforesaid                          Defendant,                          POLICE                 OFFICER                     SEAN               THORNTON,                         SHIELD         NO.



          640,               was            employed                   by        the           Defendant                         the          AMTRAK                    and          was          assigned                 in


         the            Borough                     of       Manhattan,                              City            and         State                 of         New         York.


                             SIXTH:                          That                 at            all               times                     hereinafter                                  mentioned                       the



          Defendant,                               POLICE              OFFICER                        SEAN           THORNTON,                          SHIELD                 NO.             640,         was          and


          still                is           a     police               officer                       employed                    by         the             defendant                      AMTRAK.


                             SEVENTH:                        That            on          or           about               the          26th                           of                                                 the
                                                                                                                                                       day                     March,                   2016,


          Plaintiff,                               KAREEM              ROWE,                  was           grabbed                    by         Defendant,                             POLICE                OFFICER


         SEAN                THORNTON,                          SHIELD             NO.               640,          thrown                   Plaintiff                         to         the           ground         and


          searched                          him;            That            the           Defendant,                             POLICE                      OFFICER                     SEAN           THORNTON,


          SHIELD                    NO.            640,          brought                  forward                     a     witness                         and         asked              the          gentleman


         if            the            Plaintiff                        was              the            perpetrator                                of           an          assault;                      that            the


         witnessed                                indicated                        the                 Plaintiff                            was               not             the               perpetrator,


         however,                           the           Defendant,                          POLICE                 OFFICER                      SEAN              THORNTON,                          SHIELD        NO.




                                                                                                              2 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                   INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 6 ofNYSCEF:
                                                                                 16     03/19/2019




          640,           arrested                   and          handcuffed                             Plaintiff                       in          an         unnecessary                              manner              so



          as       to      cause                pain;            that           Plaintiff                              suffered                      abuse                 for          approximately


          three                days            before             being                  released;                            that             Plaintiff                          had             to         undergo



          cliittinal                   court              appearances                               for          approximately                                   seven                  months                   before


          all           charges                 were            dismissed                          on        October                   17,           2016.


                         EIGHTH:                         That           on         or             about             the              26th                        of                                                       the
                                                                                                                                                   day                      March,                     2016,


          Defendant,                            POLICE               OFFICER                            SEAN              THORNTON,                            SHIELD                       NO.            640,             in



         particular,                               and             Defendants,                                    their                      agents,                        servants                             and/or



          employees,                            without                  just                     cause                or            provocation,                                  and                  negligent


          disregard                        for             the            truth,                          and           without                          investigation,                                          placed


          Plaintiff,                       KAREEM                ROWE,              under                    arrest.


                         NINTH:                          That           on         or             about             the              26th                        of                                                       the
                                                                                                                                                   day                      March,                     2016,


          Defendants,                             POLICE                  OFFICER                             SEAN                 THORNTON,                            SHIELD                         NO.           640,


          assaulted                       and           battered                    Plaintiff;                                by        pushing                       him              to         the            ground



          onto           his           chest;              by      tightly                         fastening                         handcuffs                        on         his           writs               so       as


          to       cause               sharp            pain;            that                Defendant,                            POLICE                OFFICER                   SEAN                THORNTON,


          SHIELD                NO.        640,            falsely                  imprisoned                               Plaintiff                          during                  this              time            for



          approximately                             three               days.


                         TENTH:                          That            as              a          result                    of            this                false                   imprisonment,


          Plaintiff                        suffered                      physical                             and             psychological                                      discomfort                               and


         mental                 anguish,                  resulting                          in         emotional                       and          psychological                                      injury              in



          that           he       is       traumatized                          and               demoralized.


                         ELEVENTH:                       That           on          or             about               the             26th                           of
                                                                                                                                                         day                      October,                         2016,


          Plaintiff,                           KAREEM             ROWE,                  without                       just                 cause               or         provocation,                                   and




                                                                                                          3 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                        INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 7 ofNYSCEF:
                                                                                 16     03/19/2019




          without                      investigation,                                      was             placed                      under                   arrest                 by           Defendants,


          their              agents,                     servants                          and/or                    employees,                                and            in          particular,                          by


          Defendants,                           POLICE                     OFFICER                    SEAN            THORNTON,                           SHIELD                   NO.          640.


                           TWELFTH:                       TliaL              o11         or         abouL                 Llie          26th                            Of                                                   drid
                                                                                                                                                         day                       Md1U11,               2016,


         upon              arresting                          the           Plaintiff,                              KAREEM                   ROWE,                and              depriving                     him           of


         his          liberty,                     Defendants,                                 POLICE                 OFFICER                       SEAN               THORNTON,                        SHIELD               NO.



          640,             and           cohorts                      took               the              Plaintiff                           to         Central                      Booking                    in          the



         County                  of       New       York                   and        entered                       him           on         the          records                     as        under               arrest


          for         criminal                   possession                               of          a        forged                  instrument                            and          assault.


                           THIRTEENTH:                                      That               on         or        about                   the          26th                        of
                                                                                                                                                                        day                    March,                 2016,


         the          Defendants,                              POLICE                 OFFICER                       SEAN               THORNTON,                        SHIELD                 NO.           640,            and


         cohorts                      further                  caused                    Plaintiff,                           KAREEM                     ROWE,                to          be       handcuffed,


         and          to      be         held            in         Central                     Booking,                      Manhattan                          Detention                         Complex                   for



         approximately                                   three                   days,                    to          have                  his            fingerprints                                  taken                 in


         accordance                         with               police                    procedures                              for          the          arrest                    of        criminals                       on


         those              charges                 at          Central                       Booking                   located                     at          100          Centre                Street,                   New



         York,              NY         10013.


                           FOURTEENTH:                              That           on          or         about               the             26th              day           of          March,              2016,                 a


         criminal                      complaint                       was            issued                   by       Defendant,                             their               agents,                   servants


         and/or               employees,                             and         in           particular,                              by         Defendants,                              POLICE             OFFICER


         SEAN              THORNTON,                     SHIELD                    NO.           640.


                           FIFTEENTH:                          That                solely                      as         a       result                   of           the           aforesaid,                             the



         Plaintiff,                         KAREEM                   ROWE's,                     life               was           interfered                            with.




                                                                                                               4 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                              INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 8 ofNYSCEF:
                                                                                 16     03/19/2019




                         SIXTEENTH:                              That                solely                     as           a         result                    of            the              false                 arrest,


          assault,                   battery,                           false                 imprisonment                                  and          malicious                             prosecution                                 of


          the          Plaintiff,                            KAREEM                      ROWE,            was               deprived                        of           his           liberty                       and              was


          subjecL                   Lu         physical                         111jury                arid          pai11,                     scu111            arid           lidicule,                            arid            was


          degraded                   in          the            esteem                   of      the            community.


                         SEVENTEENTH:                                  That              on      or        about                    the           31st                         of
                                                                                                                                                                 day                      December,                            2016,


          the         Plaintiff                        caused                      the         Notice                  of           Claim,                 in          writing,                         sworn                  to          by


          and         on       behalf                      of          the           claimant,                            the              Plaintiff                           herein,                       containing


          the         statement                        of             the           name            and          place                     of      residence                              of         the           claimant


          by     the          street                   and             number                 and         his             attorney,                        and            describing                               the              time


          when          the         particular                               claim             and         circumstances                                    under                    which              the           damages


          and           injuries                       were                  sustained,                          the                cause                thereof,                              and           so          far               as



         practical,                            the         nature                    and         extent                     of         the          injuries                         to          be          personally


          served                upon                 the               Defendant                        CITY,                      their                 agents,                      servants                           and/or


          employees                       at         the          Law              Department;                              this                action                 was           not             commenced                             to


          recover                   upon               force                       claim              until                      the             expiration                               of            30          days                   or



          thereafter,                            and            this               action               was            commenced                          within                     the             time            allowed


         by      law.


                        EIGHTEENTH:                                   That            by        reason                      of         the             foregoing,                               the              Plaintiff


         has         been           damaged                      in          the         SUM        OF        TWO           MILLION                      DOLLARS                      ($2,000,000.00).


                                                                      AS        AND           FOR         A      SECOND                      CAUSE               OF       ACTION


                        NINETEENTH:                               Plaintiff                           repeats,                         reiterates                              and             realleges                            each


                                                                                                                                                                                                                     "FIRST"
          and         every               allegation                                contained                        in            paragraphs                            numbered                           in




                                                                                                              5 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                INDEX NO. 150333/2018
NYSCEF DOC. NO.Case
                8   1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                       Page 9 ofNYSCEF:
                                                                                 16     03/19/2019




                                 "EIGHTEENTH"
         through                                                          with             the              same          and          force              and         effect               as      if         fully


         set       forth              at        length                herein.


                      TWENTIETH:                          That                  at           all               times                   hereinafter                              mentioned,                            the


         aforesaid                     false             arresL,                      assault,                           baLLery,                     false                11ttpriso111tte11L                         arid


         malicious                      prosecution                                  was              caused                        solely                as          a         result                  of            the


         negligence                        of          the                Defendants,                                   their                  agents,                     servants                       and/or


         employees.


                      TWENTY-FIRST:                                 That              by         reason                  of          the          foregoing,                       the          Plaintiff


         has       been           damaged                in         the          sum             of         TWO         MILLION                   DOLLARS                   ($2,000,000.00).


                                                          AS          AND             FOR             THE          THIRD               CAUSE              OF      ACTION


                      TWENTY-SECOND:                                   Plaintiff                              repeats,                         reiterates                         and           realleges

                                                                                                                                                                                                        "FIRST"
         each        and          every              allegation                            contained                           in       paragraphs                         numbered

                                 "TWENTY-FIRST"
         through                                                                 with                 the          same              force            and         effect                  as      if          fully


         set       forth              at        length                herein.


                     TWENT-THIRD:                              That              on        or          about              the           26th                     of                                                   and
                                                                                                                                                     day                   March,               2016,


         while             in        custody              of          the             Defendants                              of       the          County                 of      New          York,                 New


         York,             the          Plaintiff,                           KAREEM                         ROWE,               was            injured,                     humiliated,                               and



         harshly                     handcuffed                            by              the               Defendants,                                  POLICE                   OFFICER                      SEAN



         THORNTON,                     SHIELD             NO.               640,             and             cohorts                       acting               within               the          scope                 of


         their             employment                         and           authority                              in         such            a     manner                  as       to         knowingly


         cause              injury               to           Plaintiff.                                That              the              Defendants,                            their                 agents,


         servants                    and         employees,                                acting                   as             agents              and            on         behalf                  of           the



         Defendants,                       within                the             scope                 of      their                  employment                       and         in      particular


         Defendants,                            POLICE                     OFFICER                           SEAN                   THORNTON,                         SHIELD                    NO.             640,




                                                                                                            6 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                                    INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 10 of 16
                                                                             NYSCEF: 03/19/2019




         willfully                         and               maliciously                                    assaulted                          and              battered                         the           Plaintiff,


         KAREEM                  ROWE,                      in         tat             he        has          the              real            or         apparent                         ability                    to         cause


         imminent                     harmful                          and/or                 offensive                           bodily                   contact                    and            intentionally


         did         a      violent                     and/or                      menacing                        act           which                   LhreaLened                         such              conLacL                   Lu


         the           Plaintiff,                                 KAREEM                     ROWE,                  and           his               act              caused                 apprehension                                 of


         such              contact                     in          the              Plaintiff,                             and           in          a         hostile                     and/or                   offensive


         manner                  touched                         the             Plaintiff                        and            caused                   such               battery                    in          and          about


         his                             and       limbs.                          That             on         or         about                the              26th                        of
                      body                                                                                                                                                    day                       March,                   2016,


         and           while               in          the               custody                       of         the            Defendants                              of          the          County                    of      New


         York,                  New            York,                    the             Plaintiff,                                KAREEM                       ROWE,                 was             intentionally


         arrested                     without                          probable                      cause                by          Defendants,                               POLICE                  OFFICER                   SEAN



         THORNTON,                        SHIELD                       NO.             640,              and             cohorts                     acting                   within                    the          scope               of


         their                  employment                              and            authority                           in           such               a        manner                  as          to          knowingly


         and           unlawfully                                restrain                         Plaintiff                            and           cause                injury                   to          Plaintiff.


         That              on       or         about                   the             26th                         of                                    2016            and          while                   in
                                                                                                     day                        March,                                                                                    custody


         of          the            Defendants                                    of          the             County                      of             New            York,                    New           York,                the


         Plaintiff                        KAREEM                       ROWE,                was          intentionally                                     falsely                    imprisoned                            by      the


                                          "CITY"
         Defendant                                                     acting                     within                  the            scope                  of        their                  employment                         and



         authority                        in           such                  a      manner                   as           to          restrain                         the           Plaintiff                            without


         justification                                  and              knowingly                           cause                    injury                   to       Plaintiff.


                           TWENTY-FOURTH:                                          That             by          reason                    of             the           aforesaid                             intentional


         assault,                     battery,                           false                arrest                    and           false                imprisonment                                 committed                        by


         the               Defendants,                                       their                     agents,                           servant                             and              employees,                                 in



         particular,                             Defendants,                                      POLICE                  OFFICER                         SEAN           THORNTON,                            SHIELD                NO.




                                                                                                                    7 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                           INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 11 of 16
                                                                             NYSCEF: 03/19/2019




         640,           acting               within                   the              scope             of              their                  employment                       and           authority                             and


         without                 any           probable                           or          reasonable                                      cause,               the          Plaintiff,                              KAREEM


         ROWE,            suffered                    great                  injury                     in              and              about            body            and            limbs;                  suffered


         from           Lhe       s Ligittct               wl        Lhin              Lhe           corrununity;                                suffered                   conscious                            pain                and



         suffering,                     both           physical                              and         psychological;                                            and         that            Plaintiff                             was


         otherwise                     damaged.


                        TWENTY-FIFTH:                                   That                  as         a              result                       of      the           aforesaid                             assault,


         battery,                   false                   arrest                        and                false                        imprisonment,                                  the              Plaintiff,


         KAREEM              ROWE,             was           caused                     to         sustain                          serious,                    severe,                    painful                      bodily


         injuries                 so         that               he       was             rendered                             sore.


                       TWENTY-SIXTH:                                  That               by          reason                         of         the         foregoing,                          the          Plaintiff


         has        been         damaged                    in         the             sum         of         TWO              MILLION                     DOLLARS                    ($2,000,000.00).


                                                                 AS          AND              FOR          A            FIFTH                  CAUSE            OF        ACTION


                       TWENTY-SEVENTH:                                       Plaintiff                                  repeats,                          reiterates                           and          realleges

                                                                                                                                                                                                                      "FIRST"
         each          and        every              allegation                                contained                                 in      paragraphs                           numbered

                                 "TWENTY-SIXTH"
         through                                                                       with             the               same                 force            and        effect                    as          if          fully


         set          fourth            at          length                   herein.


                       TWENTY-EIGHTH:                                       That               the             Defendants,                                   their                agents,                        servants


         and        employees                       failed                   to          adequately                                      and         properly                   train,                    supervise,


         discipline                       or          in             any               other                  way                control                      the          behavior                          of              their


         personnel                      and                in            particular                                       Defendant,                                POLICE                     OFFICER                         SEAN



         THORNTON,                     SHIELD                    NO.              640,               and                in           their                hiring                 practices                             in            the


         exercise                 of         their                   functions;                               in             that               they          had          a      reckless                            lack             of


         cautious                 regard               for             the              rights                     of         that              degree               of        the         due            care               which




                                                                                                              8 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                             INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 12 of 16
                                                                             NYSCEF: 03/19/2019




         prudent                 and           reasonable                                 individuals                                      would                  show               in          executing                         the


         duties             of         the           Defendants.


                      TWENTY-NINTH:                                         That                the              failure                            of            the           Defendants,                                their



         agents,                 servants                         and            employees                            to             adequately                            and             properly                      train,


         supervise,                      discipline                                or          in          any          other                 way               control                    the           behavior                    of


         their             personnel                         in         the               exercise                          of             their                  functions,                           was          carried


         out        willfully                         for           the                 danger                   of             harm               and             injury                   to         the          public,



         including                     Plaintiff.


                      THIRTIETH_·
                                                            Due             to          the            acts                of         the                Defendants,                             their              agents,


         servant                 and               employees                             herein,                       their                       failure                     to           discipline                             and



         properly                 hire              their               employees                              and           the             continued                         employment                           of        said


         employees                     presents                         a        clear                 and            present                        danger                  to            the           citizens                    of


         the        City          of         New            York.


                      THIRTY-FIRST:                                         That                the              Plaintiff,                                      KAREEM                     ROWE,                did               not


         consent                 to          the            aforementioned                                            conduct                            of        the            Defendants,                              their



         agents,                 servants,                         and             employees                            or            in          any            way         contribute                             to        said


         conduct.


                      THIRTY-SECOND:                                        That               the           injuries                         sustained                             by       the           Plaintiff,


         KAREEM             ROWE,                   resulted                            from               the             negligence                               of         the               Defendants                          in



         employing                     and          continuing                                to           employ,                     without                      adequate                       training                        and



         supervision,                                 employees                                       of              violent                                   character,                                 unsuitable


         temperament                         and            insensitive                                    disposition.


                      THIRTY-THIRD:                                 That                 by           reason                    of          the               foregoing,                         the         Plaintiff


         has        been         damaged                    in      the                 sum          of       TWO            MILLION                          DOLLARS                     ($2,000,000.00).




                                                                                                               9 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                   INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 13 of 16
                                                                             NYSCEF: 03/19/2019




                                                                      AS         AND         FOR         A         FIFTH               CAUSE                OF       ACTION


                         THIRTY-FOURTH:                                         Plaintiff                          repeats,                         reiterates                         and            realleges


                                                                                                                                                                                                              "FIRST"
         each            and          every              allegation                             contained                         in      paragraphs                         numbered

                                  "THIRTY-THIRD"
         through                                                                      with             the           same              force                and        effect                 as         if          fully


         set           fourth                 at        length                   herein.


                         THIRTY-FIFTH:                                     Defendants,                               who               were               acting                in           concert                         and


         within                 the           scope              of         their                authority,                            arrested                      and        cause                 Plaintiff


         to       be         imprisoned                        without                     probable                    cause                  in        violation                     of      Plaintiff's


         rights                 to        be            free               of         an         unreasonable                                      seizure                 under               the                 Fourth


         Amendment                      to         the           Constitution                                 of       the             United                 Stated                 and         to           be        free


         of       a      deprivation                             of         liberty                    under               the           Fourteenth                         Amendment                           to           the


         Constitution                              of          the         United                  Sates.


                         THIRTY-SIXTH:                                 Defendant's                                 intended                        to       confine                  Plaintiff                         and,


         in       fact,                confined                        Plaintiff,                            and           Plaintiff                           was         conscious                           of            the


         confinement.


                         TIRTY-SEVENTH:                                     Plaintiff                         did          not            consent                     to        the           confinement


         and           the        confinement                              was            not          otherwise                         privileged.


                         THIRTY-EIGHTH:                                    That             by         reason                of         the             foregoing,                     the            Plaintiff


         has          been            damaged                  in       the           sum         of         TWO        MILLION                         DOLLARS              ($2,000,000.00).


                                                                     AS         AND          FOR         A         SIXTH               CAUSE               OF        ACTION


                         THIRTY-NINTH:                                     Plaintiff                          repeats,                             reiterates                         and             realleges


                                                                                                                                                                                                              "FIRST"
         each            and          every              allegation                             contained                         in     paragraphs                         numbered

                                 "THIRTY-EIGHTH"
         through                                                                       with             the           same              force               and        effect                 as        if           fully


         set           fourth                at         length                  herein.




                                                                                                         10 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                                 INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 14 of 16
                                                                             NYSCEF: 03/19/2019




                         FOURTIETH:                     The            use                of         excessive                             force                     by          Defendants,                                POLICE


         OFFICER                  SEAN          THORNTON,                          SHIELD                      NO.           640,               in           handcuffing                                   him        tightly


         was        an          unreasonable                           physical                              seizure                      of         Plaintiff                            in          violation                            of


         his         right                 under                 the                 Fourth                          Amendment                                  to           the               United                       States


         Constitution.


                     FORTY-FIRST:                              That                 by          reason                      of          the               foregoing,                                the          Plaintiff


         has       been           damaged                in       the              sum              of         TWO         MILLION                         DOLLARS                      ($2,          000,          000.00)                     .


                                                           AS         AND             FOR                A     SEVENTH                         CAUSE                 OF         ACTION


                     FORTY-SECOND:                                     At           all                  times                   herein                     and                 above,                     defendants,


         CITY,            POLICE                OFFICER                     SEAN               THORT                 NTON,                     SHIELD                     NO.           640,               and        AMTRAK,


         were            acting                under             color                   of          law,              to          wit:                   the             statutes,                          ordinances


         and        regulations,                              policies                              and             customs                     and              usage                  of           the            State                  of


         New        York           and/or               City                of       New                 York.


                     FORTY-THIRD:                                      Plaintiff,                                    KAREEM                     ROWE,                      is           and               was          at            all


         times              relevant                    herein,                           a          citizen                        of              the              United                         States                   and                a


         resident                  of      Bronx              County                      in         that              State                   of         New             York            and              brings              this


         cause             of       action               pursuant                              to            42       United                        States                      Code,                 Section                      1983


         and        42       United               States                    Code,                   Section                       1988.



                     WHEREFORE,                            the                   Plaintiff                             demands                              judgement                                 against                        the


         Defendants                       on      the          First                 Cause                     of      Action                        in          the            sum            of         TWO         MILLION


         DOLLARS                   ($2,        000,      000.           00)          ,          that                 the                Plaintiff                                demands                         judgement


         against                 Defendants                      on          the               Second                  Cause                   of         Action                   in          the           sum         of         TWO


         MILLION                  DOLLARS                     ($2,000,000.00),                                                   that                the               Plaintiff                              demands                           a


         judgement                      against                  Defendant                                in         the            Third                   Cause                  of           Action                  in          the




                                                                                                             11 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                             INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 15 of 16
                                                                             NYSCEF: 03/19/2019




         sum         of             TWO         MILLION                    DOLLARS               ($2,000,000.00),                                that           the           Plaintiff


         demands                    a          judgement                    against               Defendants                       on      the             Fourth                 Cause            of


         Action                in       the        sum          of         TWO      MILLION              DOLLARS              ($2,000,000.00),                                    that        the


         Plaintiff                      demands                 a     judgement                  against            Defendants                        on     the          Fifth           Cause


         of       Action                  in      the          sum         of       TWO        MILLION          DOLLARS                    ($2,000,000.00),                                 that


         the         Plaintiff                      demands                     a   judgement                 against                   Defendant                    on       the         Sixth


         Cause            of         Action               in         the        sum       of     TWO       MILLION             DOLLARS                     ($2,000,000.00),


         together                    with           the         costs               and        disbursements                        of      this            action.


         Dated:                Bronx,               New         York
                               March              19,          2019

                                                                                                  Yours,            etc.




                                                                                                  TH        BASI3:ÓIRM,                            P.C.
                                                                                                  Nicolas             Bagley,                 Esq.
                                                                                                  Attorneys                  for          Plaintiff
                                                                                                  391       East           149th                                    Suite           205A
                                                                                                                                          Street,
                                                                                                  Bronx,            New        York           10455
                                                                                                   (718)705-7999




                                                                                                 12 of 13
FILED: NEW YORK COUNTY CLERK 03/19/2019 03:14 PM                                                                                                                                                             INDEX NO. 150333/2018
              Case
NYSCEF DOC. NO. 8 1:19-cv-03764-LAK-BCM Document 4-1 Filed 04/29/19 RECEIVED
                                                                     Page 16 of 16
                                                                             NYSCEF: 03/19/2019




                                                                                             Attorney                              Verification




         STATE             OF        NEW        YORK
         COUNTY                 OF       BRONX




         NICOLAS                   BAGLEY,                 ESQ.,                  affirms                         as          follows:


         I       am      an        attorney                    at          law           admitted                             to          practice                         in       the          Courts                of       the

         State             of        New    York,                     and           I        am            the              attorney                       for             the          plaintiff                       in      the

         within                 action,                    and          as          such,                        am          familiar                          with               all           the           facts             and

         circumstances                                therein.


         That            the          foregoing                        Amended                           complaint                             is         true              to          the           knowledge                   of

         affirmant,                       except                 as          to         those                    matters                      therein                      stated                   to      be        alleged
         on        information                          and           belief,                        and               as          to         those              matters                       he        believes                 it

         to        be      true.


         Affirmant                       further                    states                   that                the           reason                 that                 this           verification                            is

         made            by        affirmant                         and          not               by           plaintiff,                               is       that                 the           Plaintiff                   is

         not            currently                     within                   Bronx                     county,                        where                  affirmant                        maintains                       his

         office.


         Affirmant                        further                     states                    that                   the               sources                      of          his           knowledge                       and

         information                         are           reports                      of          investigation,                                         conversations,                                     writings,
         memoranda                        and           other                  data                  concerning                                 the              subject                       matter                 of        the

         litigation.


         The            undersigned                           attorney                              affirms                             the           foregoing                               statements                        are

         true,                under             the           penalties                               of           perjury                          and     pursuant                                to       rule            2106

         CPLR.




         Dated:                 Bronx,                NY
                                March            19,           2019




                                                                                                                  Nic
                                                                                                                  The     Bagley                          Firm,                   PC
                                                                                                                  Attorneys                           for             Plaintiff
                                                                                                                  391              East             149th                                           Suite             205A
                                                                                                                                                                      street,
                                                                                                                  Bronx,                      NY      10455
                                                                                                                  Tel              (718)              705-7999
                                                                                                                  Fax              (718)              744-272




                                                                                                             13 of 13
